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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ROSAMUND WOLFGRAMM,
                            Plaintiff,
              v.                                                CIVIL ACTION NO. 19-3701
 COMMUNICATIONS WORKERS OF
 AMERICA LOCAL 13301, et al.
                            Defendants.


                                                   ORDER

       AND NOW, this 17th day of April 2023, upon consideration of the parties’ Joint Status Report
and Motion for Entry of an Amended Scheduling Order [Doc. No. 115], it is hereby ORDERED as
follows:
       1. The Clerk of Court is directed to REMOVE the case from Civil Suspense and return it to the

            active docket.

       2. The Motion for Entry of an Amended Scheduling Order [Doc. No. 115] is GRANTED. The

            following deadlines shall govern further proceedings in this case:

                   a. Fact discovery shall be completed on or before August 18, 2023.

                   b. Plaintiff’s expert reports, if any, shall be served on Defendant on or before

                       September 7, 2023.

                   c. Defendants’ expert reports, if any, shall be completed and served on Plaintiff on or

                       before October 5, 2023.

                   d. All dispositive motions shall be filed on or before November 6, 2023. The parties are

                       directed to follow Judge Rufe’s Policies and Procedures for Summary Judgment.

       It is so ORDERED.
                                                            BY THE COURT:

                                                            /s/ Cynthia M. Rufe
                                                            _____________________
                                                            CYNTHIA M. RUFE, J.
